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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                 )
 UNITED STATES OF AMERICA                        )
                                                 )
       v.                                        )       Criminal No. 16-CR-10343-ADB
                                                 )
 MICHAEL L. BABICH et al.,                       )
                                                 )
       Defendants.
                                                 )


                 ASSENTED-TO MOTION FOR STATUS CONFERENCE
                        ON TRIAL DATE AND SCHEDULE

       The pre-trial order in this case states: “Trial shall commence on January 28, 2019 at 9:00

A.M. in Courtroom 17, with jury selection to take place prior to that date.” (Dkt. No. 277 at 1).

On October 11, 2018, the government notified Defendants that it may seek a continuance of the

trial date. In subsequent conversations, the government indicated that it would propose holding

jury selection the week of February 11, 2019, with trial to commence either the week of February

19 (which is a school vacation week in Massachusetts) or the week of February 25. The

government’s proposal would effectively push the trial back three weeks.

       The undersigned Defendants have not agreed to any continuance. While the government

has indicated to Defendants that it expects its case-in-chief to be shorter than previously forecast,

the government has not been willing to commit to a shorter case-in-chief.            Moreover, the

government has taken the position that the Second Superseding Indictment does not materially

change the scope of its case, despite featuring three fewer counts and approximately 50 fewer

pages of allegations than the First Superseding Indictment.

       Defendants cannot agree to a schedule that compensates for the government’s struggles to

be ready on time by potentially compressing the trial time allotted to Defendants. Moreover, if

trial does not end as previously planned, it would conflict with commitments of defense counsel

that were scheduled based on the anticipated end date. Defendants are agreeable to the Court’s
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suggestion, see Dkt. No. 449 at 7 n.1, that the trial break for both school vacation weeks (the weeks

of February 18 and April 15, 2019). The current schedule would allow for both breaks without

unfairly impacting Defendants’ trial time or implicating conflicts for certain defense counsel.

       The government has yet to file a motion to continue. Because the trial involves substantial

expenses for Defendants, including lodging and other logistics for numerous out-of-town attorneys

and witnesses, Defendants respectfully ask for a status conference before Judge Burroughs to

address the trial schedule as soon as possible. Recognizing that the Court has other active matters

on its docket, Defendants note that this Friday, October 19, 2018 is available for them, as they will

already be appearing before Magistrate Judge Boal at 11:30 a.m. for a status conference.

       Prior to filing this motion, the undersigned conferred with counsel for the government, who

indicate they are agreeable to a status conference to discuss trial schedule on October 19, 2018.



                                                      Respectfully submitted,

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                           LOCAL RULE 7.1 CERTIFICATION

      Pursuant to Local Rule 7.1, I hereby certify that counsel for Defendants and the
government have conferred and that counsel for the government has assented.

                                            /s/ Kosta Stojilkovic
                                            Kosta Stojilkovic
                                            Counsel for Dr. John Kapoor


                               CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document will be served on counsel for the
government through the ECF system.

                                            /s/ Kosta Stojilkovic
                                            Kosta Stojilkovic
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